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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter 15
Case No. 17-10438 (BLS)

In re:

Axios Logistics Solutions Inc., et al.,!
Jointly Administered

Debtors in a Foreign Proceeding. Proposed Hearing Date: August 31, 2017 at 10:00 a.m.
Proposed Obj. Date: August 24, 2017 at 4:00 p.m.

 

 

RECEIVER’S MOTION, PURSUANT TO SECTIONS 105(a), 363, 1501, 1507, AND 1521
OF THE BANKRUPTCY CODE, AND BANKRUPTCY RULES 2002, 6004, AND 9014,
FOR ENTRY OF AN ORDER () RECOGNIZING AND ENFORCING THE APPROVAL
AND VESTING ORDER; (1) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL
OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ANY AND ALL LIENS, CLAIMS,
ENCUMBRANCES, AND OTHER INTERESTS; (HU) RECOGNIZING AND
ENFORCING THE ANCILLARY ADMINISTRATION ORDER; AND (IV) GRANTING
RELATED RELIEF

A. Farber & Partners Inc. (the “Receiver’), the court-appointed receiver and duly
authorized foreign representative for Axios Logistics Solutions Inc., Axios Mobile Assets Inc.,
Axios Mobile Assets, Inc., and Axios Mobile Assets Corp. (collectively, the “Debtors”) in the
Canadian insolvency proceedings in Toronto, Ontario, Canada (the “Canadian Proceeding”), by
and through its undersigned counsel, and in accordance with the Approval and Vesting Order
(the “Vesting Order”) and Ancillary Administration Order (the “Administration Order”), drafts

of which were served on interested parties on August 11, 2017, will be filed with the Canadian

 

I The last four digits of the Employer Identification Number for each debtor follow in parentheses: Axios
Logistics Solutions Inc. (0963); Axios Mobile Assets Corp. (n/a); Axios Mobile Assets Inc. (n/a), and
Axios Mobile Assets, Inc. (2778). The Debtors’ headquarters are located at 30 Topflight Drive, Unit 7,
Mississauga, Ontario, LSS 0A8, Canada.

2 The Canadian Proceeding includes proceedings under both Canadian federal and provincial law. A. Farber
& Partners Inc. was appointed as receiver pursuant to Section 243(1) of the Bankruptcy and Insolvency Act
(Canada) (the “BIA”) and as receiver pursuant to Section 101 of the Ontario’s Courts of Justice Act (the
“CJA”) with respect to Axios Mobile Assets Inc. and as receiver pursuant to Section 101 of the CJA with
respect to the remaining above-captioned Debtors.
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Court on August 14, 2017, and are set to be entered on August 24, 2017,3 hereby moves this
Court for the entry of an order, substantially in the form attached hereto as Exhibit A (the “U.S.
Order’), pursuant to sections 105(a), 363(b), (f), (m), and (n), 1501, 1507, and 1521 of title 11 of
the United States Code (the “Bankruptcy Code”), Rules 2002, 6004, and 9014 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 6004-1 of the Local Rules of
Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware (the “Local Rules”) (a) recognizing, enforcing, and giving full force and effect to the
Vesting Order, pursuant to which the Canadian Court has authorized the sale and transfer (the
Sale”) by the Receiver of the Debtors’ right, title, and interest in and to substantially all of the
assets of the Debtors (collectively, the “Purchased Assets”) to Leonite Holdings Inc. (“Leonite”
or the “Purchaser”), pursuant to the Asset Purchase Agreement (the “Purchase Agreement”),4 by
and between the Receiver and the Purchaser, dated July 12, 2017, a copy of which is attached
hereto as Exhibit B,° free and clear of all claims, liabilities and encumbrances, except as set forth
in the Vesting Order; (b) authorizing, pursuant to section 363 of the Bankruptcy Code, the Sale
of the Debtors’ right, title, and interest in and to the Purchased Assets to the Purchaser, free and
clear of all Interests (as defined in the U.S. Order), except as otherwise provided in the Vesting
Order; (c) recognizing, enforcing, and giving full force and effect to the Administration Order;
and (d) granting certain related relief.

In support of this Motion, the Receiver submits the draft Vesting Order attached

 

3 The Receiver will file a copy of the entered Vesting Order upon entry by the Canadian Court and serve on
the parties set forth below in paragraph 41.

4 Capitalized terms not defined herein shall have the meanings ascribed to them in the Purchase Agreement.

5 Certain of the exhibits to the Purchase Agreement are continuing to be finalized and will be filed prior to
hearing on this Motion.
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hereto as Exhibit C, the draft Administration Order attached hereto as Exhibit D and A. Farber &
Partners Inc.’s First Report of the Receiver, dated August 11, 2017 (the ““Receiver’s Report”),
attached hereto as Exhibit E, and respectfully states as follows:

JURISDICTION AND VENUE

1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.
§§ 157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(N) and (P).
Venue is proper in this Court and in this District pursuant to 28 U.S.C. § 1410.

2. The statutory predicates for the relief requested herein are sections 105(a),
363(b), (f), (m) and (n), 1501, 1507, and 1521 of the Bankruptcy Code. The relief is also
appropriate under Bankruptcy Rules 2002, 6004, and 9014, and Local Rule 6004-1.

BACKGROUND

A. General Background

3. The detailed factual background relating to the Debtors, the Receiver, and
the commencement of these Chapter 15 bankruptcy Cases (as defined herein) is set forth in the
Declaration of Peter Crawley in Connection with the Motion for Provisional and Final Orders
Granting Recognition of Foreign Main Proceeding and Certain Related Relief [Docket No. 7]
(the “Crawley Declaration”).

4, On February 24, 2017, Export Development Canada (“EDC”), Axios
Canada’s senior secured lender, made an application under the Bankruptcy and Insolvency Act
(Canada) and the Courts of Justice Act (Ontario) commencing the Canadian Proceeding on an
expedited basis to stay third-party retail centers in the United States from disposing of the
Debtors’ pallets and appointing a receiver (the “Receiver Order”). A copy of the Receiver Order
is attached hereto as Exhibit F. The Canadian Court granted the Receiver Order.

5. On February 28, 2017 (the “Petition Date’), the Receiver, on behalf of

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each of the Debtors, filed voluntary petitions under chapter 15 of the Bankruptcy Code (the
“Chapter 15 Cases”) for each of the respective Debtors and the Motion for Provisional and Final
Orders Granting Recognition of Foreign Main Proceeding and Certain Related Relief [Docket
No. 6] (the “Petition for Recognition”) pursuant to section 1515 of the Bankruptcy Code seeking
(i) entry of an Order recognizing the Canadian Proceeding as a foreign main proceeding pursuant
to section 1517 of the Bankruptcy Code and (ii) relief under sections 1520 and 1521 of the
Bankruptcy Code.

6. On March 28, 2017, the Court entered an order approving the Petition for
Recognition on a final basis [Docket No. 27] (the “Final Order’).

B. The Marketing Process

7, As set forth more fully in the Receiver’s Report, prior to the appointment
of the Receiver, the Debtors had been searching for financing and investment from the
marketplace for approximately six (6) months and had been in communication with numerous
parties about investing in the Debtors’ business. Shortly after the Petition Date the Receiver
employed a solicitation process to identify potential purchasers for the Debtors’ business. In
particular, the Receiver contacted eighteen (18) potentially interested parties, including parties
that had shown interest in financing the business prior to the Petition Date and additional
strategic parties identified by the Receiver. This list of potential purchasers includes the largest
composite poolers of plastic pallets in the United States and the largest global pooler of wooden
pallets. To assist potential bidders with their due diligence following the execution of non-
disclosure agreements, the Receiver provided access to a data room containing further
information with respect to the assets of the Debtors. Of those potential purchasers, five (5)
submitted a non-binding expression of interest in the Debtors’ assets. Three (3) of these parties

indicated a willingness to serve as a stalking horse purchaser in a broader sale process.

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However, ultimately, the Purchaser was the only party who agreed to pursue negotiation of a
definitive agreement of purchase and sale.

8. The Receiver, in consultation with EDC, reviewed the sales process that
had been conducted thus far, including that which was conducted prior to the appointment of the
Receiver by the Debtors. In the Receiver’s view, the limited universe of potential purchasers for
the unique chattel, the limited funding available to the Receiver, and the guidance provided by
two independent appraisals commissioned by the Receiver, a further, broader sales and
marketing process (including the additional costs necessary to administer such a process) was not
likely to produce a better result than the proposed transaction with the Purchaser. Accordingly, it
was determined that that Receiver would continue negotiations with the Purchaser with the view
of finalizing a final binding offer. On July 12, 2017, the Receiver entered into the Purchase
Agreement with the Purchaser.

9, Accordingly, the Canadian Court is expected to authorize the
consummation of the Purchase Agreement on August 24, 2017, carried out by the Receiver, as
the best option for maximizing the value of the Debtors’ assets for the benefit of the Debtors’
creditors. Once entered, the Vesting Order authorizes the Receiver to take all actions or steps
necessary to complete the transactions contemplated by the Purchase Agreement without further
approval of the Canadian Court.

B. Summary of Purchase Agreement And Local Rule 6004-1 Disclosures

10. Pursuant to the Purchase Agreement, the Purchaser will acquire
substantially all of the assets of the Debtors. The Purchaser has offered to purchase the
Purchased Assets for a Purchase Price of approximately $450,000 CAD, together with certain

Transfer Tax liabilities, as set forth in the Purchase Agreement.
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. 6 . . .
11. The following is a summary of certain material provisions of the

Purchase Agreement,” The Receiver believes that the Purchase Agreement is fair and reasonable
under the circumstances, is the result of good-faith, arm’s-length negotiations, and is in the best
interests of the Debtors, their creditors, and other stakeholders.

12. Pursuant to the Purchase Agreement, the Purchaser will purchase the
Purchased Assets of the Debtors for a cash purchase price of $450,000 CAD, plus the
assumption of certain Transfer Tax liabilities, all in accordance with the provisions of the
Purchase Agreement. On the date of the Purchase Agreement, the Purchase provided the

Receiver with a Deposit of $90,000 CAD. The Purchased Assets include the following:

(i) All accounts receivable, trade accounts, bank accounts, bank
accounts, book debts, insurance claims, bills, credits, rebates,
deposits, prepayments, holdbacks, funds, cash and cash
equivalents, marketable securities, short-term investments, (i1) the
Intellectual Property, (iii) the Books and Records, minute books
and all other corporate records of the Axios Entities, and (iv) any
and all vehicles, Pallets, Hardware, equipment, parts, inventory of
spare parts, parts and supplies, furniture and any other tangible
personal property in which Axios Entities have a beneficial right,
title or interest ,in all cases, Related to the Business (including
those in possession of suppliers, customers and other third parties),
other than Excluded Assets, including without limitation, the assets

 

6 Any summary of, or reference to, the terms and conditions of the Purchase Agreement and/or the Vesting
Order herein are qualified in their entirety by the actual terms and conditions of the Purchase Agreement
and the Vesting Order. To the extent there is any inconsistency between any such summary or reference
herein and the actual terms and conditions of the Purchase Agreement and the Vesting Order, the actual
terms and conditions of the Purchase Agreement and/or the Vesting Order shall control.

7 Pursuant to Local Rule 6004-1(b)(Gv), a Sale Motion (as defined in the Local Rules) must highlight certain
provisions contained in the proposed form of sale order and/or the underlying purchase agreement. The
Receiver has highlighted below the relevant provisions of the Purchase Agreement that implicate Local
Rule 6004-1(b)(iv) by providing a citation to the relevant sections of the Purchase Agreement and/or the
U.S. Order. In addition, the Receiver highlights that, pursuant to the proposed U.S. Order, it is requesting
(1) the Sale to be approved under section 363(f) of the Bankruptcy Code, free and clear of any Interest (as
defined in the U.S. Order) and (it) a waiver of Bankruptcy Rule 6004(h).
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listed on Schedule A to the Purchase Agreement. See Purchase Agreement § 1.1.8

13. Among other things, the Purchase Agreement is conditional on the

issuance of the Vesting Order by the Canadian Court and recognition of the Vesting Order by

this Court. The Sale has a Target Closing Date of the next Business Day after the entry of the

U.S. Order and an outside Closing Date of September 5, 2017, unless extended by the parties.

14. In accordance with Local Rule 6004-1, set forth below are certain

provisions in the Purchase Agreement and/or the Sale Order that such rule requires the Receiver

to highlight in this Motion:

 

 

Sale to Insider The Purchaser is not an insider as | N/A
defined by Bankruptcy Code
section 101(31).

Management Agreements | Not Applicable N/A

 

Releases

The Sale will be free and clear of
all Interests in accordance with the
Vesting Order.

The Purchaser will not be liable to
any Debtor or any predecessor or
successor to such Debtor arising
out of the Sale and/or Purchase
Agreement except as set forth in
the Vesting Order, and/or the U.S.
Order.

US. Order J R, 7, 8, 12

U.S. Order 4 11

 

Private Sale /No

 

 

The Sale is a private sale. The

 

U.S. Order 9 H, I, J

 

 

Competitive Bidding Purchase Agreement will not be
subject to higher and better offers
at a public auction subject to
8 For the avoidance of doubt, the “Excluded Assets” set forth in the Purchase Agreement specifically lists all

Contracts of the Debtors. Accordingly, the Receiver does not seek to have any of the Debtors’ executory

contracts assumed and assigned to the Purchaser pursuant to section 365 of the Bankruptcy Code.

 
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procedures established by this
Court.? Through this Motion, the
Receiver seeks the approval by
this Court of a Sale set to be
approved by the Canadian Court
on August 24, 2017.

 

Closing and Other
Deadlines

The Target Closing Date is the
first Business Day following the
issuance of the U.S. Order.
Closing shall be no later than
September 5, 2017 (unless
extended by the parties) in
accordance with the terms of the
Purchase Agreement.

Purchase Agreement § 1.1

 

Good Faith Deposit

$90,000 CAD

Purchase Agreement § 3.2

 

Interim Agreements with
the Purchaser

None.

 

Use of Proceeds

The Allocation of the Purchase
Price will be provided as set forth
in Exhibit B to the Purchase
Agreement. Additional cash
proceeds shall be paid to a
Canadian federal government
entity, Service Canada (on account
of a statutory priority claim to
employees for unpaid wages (the
“WEPP Amount”)), to the
Debtors’ senior lender, EDC, and
to the Receiver and its legal
counsel (on account of
professional fees).

Purchase Agreement, Exhibit
B; Distributions to Service
Canada, Debtors’ senior
lenders and professionals are
set forth in the Administration
Order.

 

Tax Exemption

 

 

The Purchaser has agreed to be
liable for Transfer Taxes as such
term is defined in the Purchase
Agreement. The Purchaser has not

 

Purchase Agreement § 3.5

 

 

9 As noted above and in the Receiver’s Report, the Sale is the result of an appropriate solicitation and sale
process conducted by the Receiver. As set forth herein, the Receiver believes that this process, resulting in
the Purchase Agreement with the Purchaser, has produced the highest and best offer for the Purchased

Assets,

 
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agreed to assume any liabilities
that might arise as a consequence
of any cancellation of
indebtedness income and, to the
extent that any such liabilities
arise, the Debtors will have no
funds available to pay such tax
obligations.

 

 

Record Retention

The Debtors will be selling
substantially all of their assets. It
is anticipated that shortly
thereafter the Canadian Proceeding
and these Chapter 15 bankruptcy
cases will be closed.

 

Sale of Avoidance
Actions

Not Applicable.

 

Requested Findings as to
Successor Liability

Unless permissible under the
Vesting Order or the U.S. Order,
the Purchaser, or their affiliates,
members, and shareholders shall
not be deemed, as a result of any
action taken in connection with the
Sale or the Purchaser’s post-
closing use or operation of the
Purchased Assets, to: (a) be a
successor to the Debtors; (b) have,
de facto or otherwise, merged or
consolidated with or into the
Debtors; or (c) be a continuation
or substantial continuation of the
Debtors or any enterprise of the
Debtors, based on any theory,
including based on any theory of
antitrust, environmental, labor law,
alter ego, veil piercing, continuity
of enterprise, mere continuation,
product line, de facto merger or
substantial continuity.

U.S. Order { 11

 

 

 

 

Sale Free and Clear of | Not Applicable
Unexpired Leases
Credit Bid Not Applicable

 

 

 
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Relief from Bankruptcy | Yes Sale Order 44 L, 20
Rule 6004(h)

 

C. The Administration Order

15. The Administration Order seeks to establish authority for the Receiver to
wind-down these cases, as well as the cases in Canada, in the most orderly and cost-effective
manner. Specifically, the Administration Order provides for distributions to EDC, among others,
up to the full amount of EDC’s indebtedness. However, the Receiver does not believe there will
be funds available for the full payment of the EDC debt. As set forth in more detail in the
Receiver’s Report, EDC holds a secured claim in the Debtors’ assets in the approximate amount
of $5 million CAD on which interest and costs continues to accrue. EDC holds a valid security
interest in substantially all of the Debtors’ assets securing these amounts owed. The only
unencumbered assets of the Debtors that are being purchased by the Purchaser relate to certain
equipment owned by Axios Logistics and Axios USA and are currently in the possession of
various Possessory Claimants (the “Unencumbered Assets”). The Purchaser and the Receiver are
in the process of finalizing the “Purchase Price Allocation Schedule” to be appended to the
Purchase Agreement. However, in the Receiver’s view the majority of the value of the Purchase
Price is attributable to the pallets owned by Axios Logistics and subject to EDC’s security.

16. Accordingly, the proceeds from the sale of the Unencumbered Assets will
be distributed to EDC as well because after amounts secured by the Receiver’s Charge and
Receiver’s Borrowings Charge (as such terms are defined in the Receiver’s Report) are allocated
on a pro rata basis among the Debtors, there are no remaining funds available for a distribution to

unsecured creditors of Axios Logistics and Axios USA.

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17. Further, the Administration Order establishes guidelines for the following:

a. Payment of professional fees for the Receiver and legal counsel
(Administration Order § 3);

b. Payment to Service Canada (a Canadian governmental entity) on account
of the WEPP Amount (Administration Order § 5);

c. Approval of subsequent legal fees for the Receiver and legal counsel to
complete administration of the cases (Administration Order §§ 4,7);

d. Disbursement of funds to EDC not to exceed the maximum amount of
EDC’s secured debt (Administration Order § 5); and

e. The termination, discharge, and release of the Receiver upon completion
of the administration of the Canadian Proceedings and these Chapter 15
Cases (Administration Order § 9-16).

18. Accordingly, the Administration Order allows for the orderly distribution

and wind-down of the Debtors’ assets and cases in the most cost effective manner.

RELIEF REQUESTED

19. By this Motion, the Receiver respectfully requests that this Court enter the
U.S. Order, substantially in the form annexed hereto as Exhibit A, pursuant to sections 105(a),
363(b), (f), (m), and (n), 1501, 1507, and 1521 of the Bankruptcy Code, Bankruptcy Rules 2002,
6004, and 9014, and Local Rule 6004-1 (a) recognizing, enforcing, and giving full force and
effect to the Vesting Order; (b) authorizing the Sale of the Debtors’ right, title, and interest in
and to the Purchased Assets free and clear of any and all Interests in accordance with the terms
of the Vesting Order; (c) recognizing, enforcing, and giving full force and effect to the
Administration Order; and (d) granting certain related relief.

20. The Receiver believes that the Sale of the Purchased Assets in accordance
with the terms and conditions of the Purchase Agreement, the Vesting Order, and the U.S. Order

represents the best realization of value for the Debtors’ creditors and other stakeholders under the

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circumstances. This Court’s recognition and approval of the Vesting Order will permit the
Receiver to sell the Purchased Assets without disruption and in a timely and efficient manner.

BASIS FOR RELIEF REQUESTED

A. The Court Should Recognize and Enforce the Vesting Order and Authorize the Sale
Pursuant to Section 363 of the Bankruptcy Code.

21. Section 363 of the Bankruptcy Code applies to the sale of any of the
Purchased Assets located within the territorial jurisdiction of the United States. See 11 U.S.C. §
1520(a)(2); see also In re Fairfield Sentry Limited, 768 F.3d 239 (2nd Cir. 2014).

Section 363(b)(1) provides, in relevant part, that a debtor “after notice and a hearing, may use,
sell, or lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C.

§ 363(b)(1). Section 363 of the Bankruptcy Code does not set forth a standard for determining
when it is appropriate for a court to authorize the sale or disposition of a debtor’s assets prior to
confirmation of a plan. However, courts in this Circuit, and in other districts, have required that
the decision to sell assets outside the ordinary course of business be based upon the sale
proponent’s sound business judgment. See Dai-Ichi Kangyo Bank, Ltd. v. Montgomery Ward
Holding Corp., (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (D. Del. 1999); In
re Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D.D.C. 1991); see also In re Abbotts Dairies
of Pennsylvania, Inc., 788 F.2d 143 (3d Cir. 1986); Myers v. Martin (In re Martin), 91 F.3d 389,
395 (3d Cir. 1996).

22. The “sound business judgment” test requires a proponent of a sale to
establish four elements in order to justify the sale of property outside the ordinary course of
business. These factors are (a) that a “sound business purpose” justifies the sale of assets outside
the ordinary course of business, (b) that adequate and reasonable notice has been provided to

interested persons, (c) that the trustee or debtor in possession has obtained a fair and reasonable

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price, and (d) that the purchaser has acted in good faith. See In re Abbotts Dairies of
Pennsylvania, Inc., 788 F.2d 143 Gd Cir. 1986); In re Exaeris Inc., 380 B.R. 741, 744 (Bankr.
D. Del. 2008); Titusville Country Club v. Pennbank (In re Titusville Country Club), 128 B.R.
396, 399 (Bankr. W.D. Pa. 1991); In re Sovereign Estates, Ltd., 104 B.R. 702, 704 (Bankr. E.D.
Pa. 1989).

23. In this case, ample business justification exists to sell the Purchased Assets
to the Purchaser. The Sale satisfies all four conditions set forth in Abbotts Dairies. First, sound
business purposes justify the Sale. The Sale presents the best opportunity for the Debtors to
maximize the value of their assets. The consideration to be received through the proposed sale
transaction set forth in the Purchase Agreement represents fair value for the relevant assets to be
sold. In contrast, the alternative to the Sale, a piecemeal liquidation of the assets, would result in
recoveries of substantially less than the value attributed to the Debtors’ assets as a whole in the
context of the transaction proposed through the Purchase Agreement.

24, Second, in light of the sale process that the Receiver has undertaken to
date, adequate and reasonable notice of the proposed Sale has been provided to interested
persons. Specifically, all known creditors of the Debtors in the United States are being served
with notice of this Motion. Additionally, similar notice was provided of the Vesting Order to
affected creditors known in Canada.

25. Third, the Purchase Price represents a fair and reasonable price for the
Purchased Assets. Indeed, the Purchase Price, which is $450,000 CAD is the highest offer
received by the Receiver during the marketing process. Fourth, as discussed more fully below,
and as described in the Receiver’s Report, the negotiation process undertaken with respect to the

Purchase Agreement satisfies the good faith requirement. Indeed, the Purchase Agreement is the

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product of good faith and arm’s-length negotiations among the parties.
20. In addition, granting the requested relief is in the public interest. Indeed,
the purpose of chapter 15 of the Bankruptcy Code is:

[T]o incorporate the Model Law on Cross-Border Insolvency so as to provide
effective mechanisms for dealing with cases of cross-border insolvency with the
objectives of—

(1) cooperation between—

(A) courts of the United States, United States trustees, trustees,
examiners, debtors, and debtors in possession; and

(B) the courts and other competent authorities of foreign countries
involved in cross-border insolvency cases;

(2) greater legal certainty for trade and investment;

(3) fair and efficient administration of cross-border insolvencies that
protects the interests of all creditors, and other interested entities,
including the debtor;

(4) protection and maximization of the value of the debtor’s assets; and

(5) facilitation of the rescue of financially troubled businesses, thereby
protecting investment and preserving employment.

11 U.S.C. § 1501 (a).

27. Courts in this District have granted relief similar to the relief requested in
this Motion. See, e.g., In re Thane International, Inc., Case No. 15-12186 (KG) (Bankr. D. Del.
Dec. 1, 2015) (recognizing and enforcing sale order entered by Canadian court and separately
authorizing and approving sale free and clear of any and all liens, claims, encumbrances and
other interests under section 363 of the Bankruptcy Code and approving the assignment of
assumed contracts); Xchange Technology Group LLC, Case No. 13-12809 (KG) (Bankr. D. Del.
Nov. 25, 2013) (same); Arctic Glacier International Inc., Case No. 12-10605 (KG) (Bankr. D.
Del. July 17, 2012) (same); In re EarthRenew IP Holdings LLC, Case No. 10-13363 (CSS)

(Bankr. D. Del. Feb. 18, 2011) (recognizing and enforcing sale order entered by Canadian court
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and separately authorizing and approving the sale free and clear of any and all liens, claims,
encumbrances and other interests under section 363 of the Bankruptcy Code); In re Grant Forest
Products, Case No. 10-11132 (PJW) (Bankr. D. Del. April 26, 2010) (same); Jn re Destinator
Technologies Inc., Case No. 08-11003 (CSS) (Bankr. D. Del. July 8, 2008) (same).

28. For all of the foregoing reasons, the Receiver respectfully submits that
there is more than ample justification for this Court to enter the U.S. Order, thereby recognizing
and enforcing the Vesting Order and authorizing the Sale pursuant to section 363 of the
Bankruptcy Code.

B. The Court Should Authorize and Approve the Sale Free and Clear of Interests and
Successor Liability Pursuant to Section 363(f) of the Bankruptcy Code.

29, The Receiver also respectfully requests that this Court authorize the Sale
free and clear of Interests (as defined in the U.S. Order). Under section 363(f) of the Bankruptcy
Code, a trustee or a debtor in possession may sell all or any part of a debtor’s property free and
clear of any and all liens, claims, encumbrances, and other interests in such property if (i) such a
sale is permitted under applicable non-bankruptcy law, (ii) the party asserting such a lien, claim
or interest consents to such sale, (iii) the interest is a lien and the purchase price for the property
is greater than the aggregate amount of all liens on the property, (iv) the interest is the subject of
a bona fide dispute, or (v) the party asserting the lien, claim or interest could be compelled, in a
legal or equitable proceeding, to accept a money satisfaction for such interest. See 11 U.S.C.

§ 363(f); in re P_.K.R. Convalescent Ctrs., Inc., 189 B.R. 90, 93-94 (Bankr. E.D. Va. 1995)
(“[Section] 363 covers more situations than just sales involving liens ... Section 363(f) addresses
sales free and clear of any interest ....”); Citicorp Homeowners Serv., Inc. v. Elliot (In re Elliot),
94 B.R. 343, 345 (E.D. Pa. 1988) (noting that section 363(f) of the Bankruptcy Code is written in

the disjunctive; therefore, a court may approve a sale “free and clear” provided at least one of the

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subsections is met). In addition, a court may authorize the sale of a debtor’s assets free and clear
of any liens, claims or encumbrances under section 105 of the Bankruptcy Code. See Volvo
White Truck Corp. v. Chambersburg Beverage, Inc. (In re White Motor Credit Corp.), 75 B.R.
944, 948 (Bankr. N.D. Ohio 1987) (“Authority to conduct such sales [free and clear of liens] is
within the court’s equitable powers when necessary to carry out the provisions of Title 11.’),

30. A sale of the Purchased Assets other than one free and clear of all
Interests, except as otherwise provided in the Purchase Agreement and the Vesting Order, would
yield substantially less value for the Debtors and their creditors than the Sale. Therefore, a sale
free and clear of all Interests is in the best interests of the Debtors, their creditors, and other
parties in interest.

31. With respect to any creditors that may assert an Interest in the Purchased
Assets, the Receiver submits that at least one of the subsections of 363(f) of the Bankruptcy
Code applies to such creditors and, in most cases, more than one of such subsections is satisfied.
Notably, the Debtors’ senior lender, EDC, has consented to the Sale. Accordingly, the Receiver
submits that the sale of the Purchased Assets free and clear of all Interests, other than as provided
in the Vesting Order, satisfies the statutory prerequisites of section 363(f) of the Bankruptcy
Code. Further, as set forth in the Receiver’s Report, a portion of the Debtors’ assets are stored
with Possessory Claimants (as such term is defined in the Receiver’s Report). However, the
Debtors’ rights to those assets will not vest in the Purchaser until the Claim Amount is paid by
the Purchaser to the Possessory Claimants as set forth in the Vesting Order. Each Possessory

Claimant was previously notified of this arrangement and, to date, no Possessory Claimant has

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objected.!0 Certain Possessory Claimants sought to clarify certain matters with the Receiver and
those matters are being addressed consensually.

32. Finally, it is well established that a bankruptcy court has the power under
section 363(f) to approve the sale of a debtor’s assets free and clear of successor liability claims
against the debtor. In re TWA Airlines, Inc., 322 F.3d 283, 288-90 (3d Cir. 2003) (holding that
successor liability claims are “interests in property” within the meaning of section 363(f) of the
Bankruptcy Code); United Mine Workers of Am. Benefit Plan v. Leckie Smokeless Coal Co. (In
re Leckie Smokeless Coal Co.), 99 F.3d 573 (4th Cir. 1996) (same). The Receiver respectfully
requests that this Court authorize the Sale of the Purchased Assets to the Purchaser free and clear
of claims based upon successor liability. In this way, the Purchaser will obtain increased
certainty concerning any claims associated with the Purchase Agreement in the United States as
it will be assured that it will not be consider a successor. The Receiver submits that the relief
requested herein is an appropriate exercise of this Court’s authority under chapter 15 of the
Bankruptcy Code, does not conflict with the relief granted by the Canadian Court in the
Receivership Order, and does not conflict with the Vesting Order.

D. The Court Should Afford the Purchaser All Protections under Sections 363(m) and
(n) of the Bankruptcy Code as a Good Faith Purchaser.

33. In addition to the relief requested above, the Receiver requests that the
Purchaser receive the protections set forth in sections 363(m) and (n) of the Bankruptcy Code.
Specifically, section 363(m) of the Bankruptcy Code provides:

The reversal or modification on appeal of an authorization under
subsection (b) or (c) of this section of a sale or lease of property

 

10 The Receiver did not send a letter to LIT/Hodges Industrial Trust (the ‘““Landlord”), a landlord located in
Atlanta, Georgia, as a negotiated resolution was reached with the Landlord and the Receiver by way of a
Stipulation filed before this Court.

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does not affect the validity of a sale or lease under such
authorization to an entity that purchased or leased such property in
good faith, whether or not such entity knew of the pendency of the
appeal, unless such authorization and such sale or lease were
stayed pending appeal.

11 U.S.C. § 363(m). While the Bankruptcy Code does not define “good faith,” courts have
stated that “the phrase encompasses one who purchases in ‘good faith’ and for ‘value.’” Jn re
Abbots Dairies of Pa., 788 F.2d at 147. Courts have held that in order to demonstrate a lack of
good faith, a party would have to show “fraud or collusion between the purchaser and [seller] or
an attempt to take grossly unfair advantage [of other potential purchasers.]” Jd.

34, As described in the Receiver’s Report, the Purchase Agreement was
negotiated without fraud or collusion, in good faith, and from an arm’s-length bargaining
position. Nor did the Receiver enter into the Purchase Agreement for the purpose of hindering,
delaying, or defrauding present or future creditors of the Debtors under the Bankruptcy Code or
under the laws of the United States, any state, territory, possession thereof, or the District of
Columbia. To the Receiver’s knowledge, no party has engaged in any conduct that would cause
or permit the Purchase Agreement to be set aside under section 363(n) of the Bankruptcy Code.
Accordingly, the Receiver seeks a finding that the Purchaser is a good faith purchasers under
section 363(m) of the Bankruptcy Code and has not violated section 363(n) of the Bankruptcy
Code.

E. The Court Should Recognize and Enforce the Administration Order to Allow for an
Orderly and Efficient Wind-down of these Cases.

35. In furtherance of section 1501(a) of the Bankruptcy Code, section
1521(a)(7) of the Bankruptcy Code provides that “[u]pon recognition of a foreign proceeding...
where necessary to effectuate the purpose of this chapter and to protect the assets of the debtor or

the interests of the creditors, the court may, at the request of the foreign representative, grant any

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appropriate relief, including ... (7) granting any additional relief that may be available to a
trustee... .” 11 U.S.C. § 1521(a). Moreover, section 1507 of the Bankruptcy Code provides that,
upon recognition, a court “may provide additional assistance to a foreign representative under
this title or under other laws of the United States.” 11 U.S.C. § 1507(a).

36. The Receiver seeks recognition of the Administration Order through
which the Receiver will be able to make distributions to Service Canada, the Debtors’ senior
lender, EDC, make payment to the Receiver and the Receiver’s legal counsel, efficiently wind-
down the cases both in Canada and the United States, and seek its termination and discharge at
the appropriate time.

37. The Bankruptcy Code provides this Court with the authority to give a
foreign representative additional assistance without acting contrary to United States public
policy. See 11 U.S.C. §§ 1506 & 1507. Giving full force and effect to the provisions of the
Adininistration Order is appropriate pursuant to this authority. The provision of the
Administration Order are routine, including, but not limited to, distributions to claimants with
statutory priority claims, senior creditors, payment of professional fees, and discharge and
termination of the Receiver at the appropriate time. Each of these actions are routinely granted
pursuant to confirmed chapter 11 plans in the United States and, therefore, do not contravene
United States public policy. Accordingly, granting recognition of the Administration Order is
not “manifestly contrary to the public policy of the United States,” and does not, therefore, run
afoul of Section 1506 of the Bankruptcy Code. See 11 U.S.C. § 1506. Indeed the “public policy”
exception has been narrowly construed to apply to only those “matters of fundamental
importance” to the United States. See, e.g., In re Ephedra Prods. Liability Litig., 349 B.R. 333,

336 (S.D.N.Y. 2006) (affirming a decision of the bankruptcy court recognizing a Canadian

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claims process that did not provide personal injury claimants with the right to a jury trial)
(quoting United Nations General Assembly, Guide to Enactment of the UNCITRAL Model Law
on Cross~Border Insolvency, { 89, U.N. Doc A/CN.9/442 (1997)).

WAIVER OF RULE 6004(h)

38. Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale,
or lease of property... is stayed until the expiration of 14 days after entry of the order, unless
the court orders otherwise.” Fed. R. Bankr. P. 6004(h). The Receiver requests that the U.S.
Order, once entered, be effective immediately by providing that, to the extent applicable, the
14-day stay under Bankruptcy Rule 6004(h) is waived.

39, The purpose of Bankruptcy Rule 6004(h) is to provide sufficient time for
an objecting party to appeal before an order can be implemented. See Advisory Committee
Notes to Fed. R. Bankr. P. 6004(h). Although Bankruptcy Rule 6004(h) and the Advisory
Committee Notes are silent as to when a court should “order otherwise” and eliminate or reduce
the fourteen (14) day stay period, commentators have suggested that the fourteen (14) day stay
period should be eliminated to allow a sale or other transaction to close immediately “where
there has been no objection to the procedure.” 10 Collier on Bankruptcy, {6004.11 (L. King,
16th rev. ed. 2011). Moreover, it has been suggested that if an objection is filed and overruled,
and the objecting party informs the court of its intent to appeal, the stay may be reduced to the
amount of time actually necessary to file such appeal. Jd.

40. Time is of the essence with respect to the U.S. Order. Accordingly, the
Receiver hereby requests that the Court waive the fourteen-day stay period under Bankruptcy
Rule 6004(h).

NOTICE

41. Notice of this Motion has been provided to the (i) counsel to Export

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Development Canada (the prepetition senior secured lender to Axios Canada); (ii) Oleg
Belittchenko (the prepetition subordinated secured lender to Axios Corp.); (iii) the Canadian
Department of Justice; (iv) the United States Internal Revenue Service; (v) counsel to the
Debtors in the Canadian Proceeding on behalf of the Debtors; (vi) the Office of the United States
Trustee for the District of Delaware; (vii) the Ministry of Finance for the Province of Ontario;
(vii) the Office of the United States Attorney for the District of Delaware; (ix) the Delaware
Secretary of State; (x) the United States Securities and Exchange Commission; (xi) the Delaware
State Treasury; (xii) each Possessory Claimant, (xiii) creditors registered under the personal
property security legislation in Ontario, (xiv) certain landlords of the Debtors, (xv) Service
Canada, and (xvi) any parties who have requested notice pursuant to Bankruptcy Rule 2002. In
light of the nature of the relief requested herein, the Receiver submits that no other or further
notice of the Motion is necessary or required.

NO PRIOR REQUEST

42. No prior request for the relief sought in this Motion has been made to this

or any other court.

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WHEREFORE, the Receiver respectfully requests that the Court enter the U.S.

Order, substantially in the form annexed hereto as Exhibit A, granting (i) the relief requested

herein, and (41) such other and further relief as the Court may deem proper.

Dated: August 11, 2017
Wilmington, Delaware

/s/ Morgan L. Patterson

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